36 F.3d 1108
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.TIELEMAN FOOD EQUIPMENT B.V., and Lindholst &amp; Co., A/S,Plaintiffs-Appellees,v.STORK GAMCO INC., and Stork PMT B.V., Defendants-Appellants.
    No. 94-1326.
    United States Court of Appeals, Federal Circuit.
    June 9, 1994.
    
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      N.D.Ga.
    
    
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      APPEAL DEACTIVATED.
    
    ORDER
    
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      On consideration of the notice of appeal, a motion of the type enumerated in Fed.R.App.P. 4(a)(4) having been filed in the United States District Court/NORTHERN DISTRICT OF GEORGIA rendering the notice of appeal ineffective, it is
    
    
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      ORDERED that the appeal be, and it hereby is, DEACTIVATED.
    
    
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      The appeal will be REACTIVATED upon entry of the order disposing of the last such motion outstanding.
    
    